
35 N.Y.2d 869 (1974)
In the Matter of the Claim of Edward I. Fraekorn, Appellant. Louis L. Levine, as Industrial Commissioner, Respondent.
Court of Appeals of the State of New York.
Argued November 12, 1974.
Decided December 18, 1974.
James F. Oliviero and Morton B. Dicker for appellant.
Louis J. Lefkowitz, Attorney-General (Irving Jorrisch, Samuel A. Hirshowitz and Murray Sylvester of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order reversed, without costs, on the dissenting memorandum by Mr. Justice LAWRENCE H. COOKE at the Appellate Division and the matter remitted to the Appellate Division, Third Department, with directions to remand for a hearing on the question of whether claimant was available for employment.
